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              EXHIBIT 10
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                                 HIGHLY CONFIDENTIAL

                                                                    Page 1

   1
   2                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
   3                              ALEXANDRIA DIVISION
                  _____________________
   4
                  UNITED STATES,              )1:23-cv-00108-LMB-JFA
   5              et al.,                     )
                                              )
   6                  Plaintiffs,             )
                                              )
   7              vs.                         )
                                              )
   8              GOOGLE LLC,                 )
                                              )
   9                  Defendants.             )
                  _____________________)
  10
  11
  12                            - HIGHLY CONFIDENTIAL -
  13
  14                            VIDEOTAPED DEPOSITION OF
  15                                      KOBY SOUTH
  16                                  August 31, 2023
  17                                       9:06 a.m.
  18
  19
  20
  21
                  Reported by:    Bonnie L. Russo
  22                    Job No. CS6074125

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                                                          HIGHLY CONFIDENTIAL
                                                                 Page 2                                                    Page 4
       1      Videotaped Deposition of Koby South held at:                 1           INDEX
                                                                           2   EXAMINATION OF KOBY SOUTH                   PAGE
       2                                                                   3   BY MS. MORGAN             7
       3                                                                   4
                                                                           5
       4                                                                   6
       5                                                                                EXHIBITS
       6         Paul Weiss Rifkind Wharton & Garrison, LLP                7
                                                                           8   Exhibit 82 Solicitation/Contract/Order 75
       7         2001 K Street, N.W.                                                  for Commercial Items
       8         Washington, D.C.                                          9          VET-AF-ADS-0000461239-287
                                                                          10   Exhibit 83 E-Mail dated 6-16-21       151
       9                                                                              VET-AF-ADS-0000-122732-742
      10                                                                  11
                                                                               Exhibit 84 E-Mail dated 11-1-19  210
      11
                                                                          12          Attachment
      12                                                                              VET-AF-ADS-0000126694-697
      13                                                                  13
                                                                               Exhibit 85 E-Mail dated 6-13-22  227
      14                                                                  14          Attachment
      15                                                                              VET-AF-ADS-0000027906-909
                                                                          15
      16
                                                                               Exhibit 86 E-Mail dated 6-14-21  242
      17                                                                  16          Attachment
      18      Pursuant to Notice, when were present on behalf                         VET-AF-ADS-0000027459-467
                                                              17
      19      of the respective parties:                      18
      20                                                                  19
                                                                          20
      21                                                                  21
      22                                                                  22
                                                                 Page 3                                                    Page 5
        1   APPEARANCES:
        2   On behalf of the Plaintiffs:                                   1          PROCEEDINGS
        3    SEAN CARMAN, ESQUIRE                                          2            (9:06 a.m.)
             VICTOR LIU, ESQUIRE
        4    ALVIN CHU, ESQUIRE                                            3
             KATHERINE E. CLEMONS, ESQUIRE
        5    UNITED STATES DEPARTMENT OF JUSTICE                           4          THE VIDEOGRAPHER: Good morning.
             450 Fifth Street, N.W., Suite 700                             5          We are going on the record at
        6    Washington, D.C. 20530
             sean.carman@usdoj.gov                                         6   a.m. on August 31, 2023.
        7    victor.liu@usdoj.gov
             alvin.chu@usdoj.gov                                           7          Please note that the microphones are
        8    katherine.clemons@usdoj.gov                                   8   sensitive and may pick up whispering and
        9
            On behalf of the Defendant:                                    9   private conversations. Please mute your phones
       10
             ERIN J. MORGAN, ESQUIRE                                      10   at this time.
       11    PAUL, WEISS, RIFKIND,
                                                                          11          Audio and video recording will
             WHARTON & GARRISON, LLP
       12    1285 Avenue of the Americas                                  12   continue to take place unless all parties agree
             New York, New York 10019
       13    ejmorgan@paulweiss.com                                       13   to go off the record.
       14       -and-
       15    HEATHER MILLIGAN, ESQUIRE
                                                                          14          This is Media Unit 1 of the
             ANNELISE CORRIVEAU, ESQUIRE                                  15   video-recorded deposition of Mr. Koby South in
       16    MARTHA L. GOODMAN, ESQUIRE (Via Remote)
             PAUL, WEISS, RIFKIND,                                        16   the matter of United States, et al., versus
       17    WHARTON & GARRISON, LLP
             2001 K Street, N.W.
                                                                          17   Google LLC filed in the United States District
       18    Washington, D.C. 20006                                       18   Court, Eastern District of Virginia, Alexandria
             hmilligan@paulweiss.com
       19    acorriveau@paulweiss.com                                     19   Division. Case No. 1:23-cv-00108-LMB-JFA.
             mgoodman@paulweiss.com
       20
                                                                          20          My name is Orson Braithwaite
       21   Also Present:                                                 21   representing Veritext Legal Solutions. I am
            Orson Braithwaite, Videographer
       22   Laura Reass, Department of Veterans Affairs                   22   the videographer. The court reporter is Bonnie

                                                                                                                 2 (Pages 2 - 5)
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                                            HIGHLY CONFIDENTIAL
                                                     Page 266                                                Page 268
       1       Q. Do you know whether -- prior to DOJ            1   refunds from Google before for advertising, but
       2    filing the lawsuit in January of 2023 against        2   I'm not sure if it was ever really discussed in
       3    Google, if anyone from DOJ notified the              3   a broader sense that it was specifically
       4    Department of Veterans Affairs that it               4   related to anticompetitive practices, so I
       5    suspected that the Department of Veterans            5   think I would answer that with no.
       6    Affairs might be suffering financial damages as      6          BY MS. MORGAN:
       7    a result of its contracts with Google?               7      Q. How did you receive the refunds that
       8           MR. CARMAN: Objection, and I will             8   you just referenced?
       9    instruct the witness not to answer.                  9      A. Electronic fund transfer.
      10           MS. MORGAN: I'm just asking if he            10      Q. From where?
      11    knows before he ever spoke to DOJ.                  11      A. Google.
      12           MR. CARMAN: Yes, but then you went           12      Q. From Google directly?
      13    on to ask whether anyone from DOJ notified the      13      A. Not to me.
      14    Department of Veterans Affairs and then you         14      Q. How do you know that they came from
      15    went on to describe the substance of a              15   Google?
      16    conversation.                                       16      A. They -- we frequently get refunds
      17           BY MS. MORGAN:                               17   from ad tech providers and they end up going on
      18       Q. You never had any communication with          18   an invoice and then they get reallocated back
      19    the Department of Justice prior to March of         19   into paid media.
      20    2023 on any subject, correct?                       20      Q. Was that from Google to the VA?
      21           MR. CARMAN: I think I will also              21          MR. CARMAN: Object to form.
      22    instruct you not to answer that question.           22          THE WITNESS: In a broad sense, yes.
                                                     Page 267                                                Page 269
        1          MS. MORGAN: He's already answered             1          BY MS. MORGAN:
        2   that question.                                       2      Q. What do you mean, "in a broad
        3          MR. CARMAN: Then it is asked and              3   sense"?
        4   answered.                                            4      A. Because that money will be spent on
        5          BY MS. MORGAN:                                5   advertises -- advertisements, that have been
        6      Q. Prior to this lawsuit being filed,             6   authorized by the Department of Veterans
        7   were you aware of any anticompetitive conduct        7   Affairs to its broker Reingold.
        8   on the part of Google that would affect the          8      Q. Does the refund come to you from
        9   Department of Veterans Affairs' advertising?         9   Reingold?
       10          MR. CARMAN: Objection. Calls for a           10          MR. CARMAN: Object to form.
       11   legal conclusion.                                   11          THE WITNESS: No. The refund comes
       12          You can answer.                              12   to Reingold.
       13          THE WITNESS: Can you ask that                13          BY MS. MORGAN:
       14   question again, please.                             14      Q. The refund comes from Google to
       15          BY MS. MORGAN:                               15   Reingold?
       16      Q. Yeah. Prior to this lawsuit being             16      A. Correct. Or another ad provider.
       17   filed, were you aware of any anticompetitive        17   And it gets tracked on invoices and put back
       18   conduct on the part of Google that would affect     18   into funding, that then gets spent on paid
       19   the Department of Veterans Affairs'                 19   media according to an approved plan or, you
       20   advertising?                                        20   know, budget allocation.
       21          MR. CARMAN: Same objection.                  21      Q. When you say "it gets tracked on
       22          THE WITNESS: We have received                22   invoices," are you talking about invoices from

                                                                                             68 (Pages 266 - 269)
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                                                   HIGHLY CONFIDENTIAL
                                                             Page 290                                                Page 292
        1          THE WITNESS: Yeah, I am                               1          (Whereupon, the proceeding was
        2   generalizing that I think most record retention              2    concluded at 4:08 p.m.)
        3   policies are somewhere in the neighborhood of                3
        4   seven years. That would include most records.                4
        5   I highly doubt that they are deleting patient                5
        6   records every seven years though, but most                   6
        7   business operational documents I think are                   7
        8   seven years.                                                 8
        9          BY MS. MORGAN:                                        9
       10      Q. Do you use any kind of chat platform                  10
       11   to communicate at work?                                     11
       12      A. We use Teams, yes.                                    12
       13      Q. And you use the chat function inside                  13
       14   Teams?                                                      14
       15      A. Yes.                                                  15
       16          MS. MORGAN: Okay. I think we can                     16
       17   go off the record. I think I am done on the                 17
       18   30(b)(1), but I want to just talk to my team.               18
       19          Does anyone object to taking a                       19
       20   break?                                                      20
       21          MR. CARMAN: No.                                      21
       22          THE VIDEOGRAPHER: The time is                        22
                                                             Page 291                                                Page 293
        1   p.m. This ends Unit 5. Off the record.                       1           CERTIFICATE OF NOTARY PUBLIC
        2         (A short recess was taken.)                            2         I, Bonnie L. Russo, the officer before
        3         THE VIDEOGRAPHER: The time is                          3   whom the foregoing deposition was taken, do
        4   -- 4:08 p.m. We are on the record.                           4   hereby certify that the witness whose testimony
        5         MS. MORGAN: Mr. South, I am not                        5   appears in the foregoing deposition was duly
        6   going to have further questions for you as a                 6   sworn by me; that the testimony of said witness
        7   fact witness.
                                                                         7   was taken by me in shorthand and thereafter
                                                                         8   reduced to computerized transcription under my
        8         And before we go off the record in
                                                                         9   direction; that said deposition is a true
        9   this deposition, I do want to just reserve
                                                                        10   record of the testimony given by said witness;
       10   rights -- my understanding is that last night
                                                                        11   that I am neither counsel for, related to, nor
       11   the Department of Justice informed Google that
                                                                        12   employed by any of the parties to the action in
       12   there were some -- like several thousand
                                                                        13   which this deposition was taken; and further,
       13   documents of Mr. South's that had not been
                                                                        14   that I am not a relative or employee of any
       14   produced yet. We proceeded with the deposition
                                                                        15   attorney or counsel employed by the parties
       15   anyways. It was scheduled. I'll just reserve                16   hereto, nor financially or otherwise interested
       16   the right to reopen the deposition should that              17   in the outcome of the action.
       17   become necessary when we look at the documents.             18
       18         And I have no further questions on                                <%11937,Signature%>
       19   this -- in this deposition.                                 19          ____________________________
       20         MR. CARMAN: We have no questions.                     20          Notary Public in and for
       21         THE VIDEOGRAPHER: The time is                         21           the District of Columbia
       22   p.m. We are off the record.                                 22   My Commission expires: August 14, 2025.

                                                                                                     74 (Pages 290 - 293)
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